
USCA1 Opinion

	













        April 2, 1996           [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No.  94-2272 

                                 JAMES HOLLINGSWORTH,

                                Plaintiff, Appellant,

                                          v.

                            LARRY E. DUBOIS, ETC., ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            James Hollingsworth on brief pro se.
            ___________________
            Nancy  Ankers  White,  Special  Assistant  Attorney  General   and
            ____________________
        Charles M. Wyzanski, Senior Litigation  Counsel, on Motion for Summary
        ___________________
        Disposition for appellees.


                                 ____________________


                                 ____________________


















                 Per  Curiam.    Plaintiff/appellant James  Hollingsworth
                 ___________

            appeals    the    entry    of    judgment    in   favor    of

            defendants/appellees on  Hollingsworth's suit pursuant  to 42

            U.S.C.    1983.  Having reviewed carefully the record in this

            case,  including  the briefs  of  the  parties, we  summarily

            affirm.

                 Hollingsworth suffered  no deprivation of his  rights to

            procedural due process either when the hearing officer denied

            his request  to call witnesses at his disciplinary hearing or

            when he  discounted the affidavits  Hollingsworth was allowed

            to submit.  A denial of a request to present witnesses is not

            a  due process  violation  when it  is based  on the  need of

            institutional safety.  See  Ponte v. Real, 471 U.S.  491, 497
                                   ___  _____    ____

            (1985).  Here,  the district court credited  the testimony of

            the hearing  officer that, even  if Hollingsworth had  made a

            timely request  to present witnesses, the  request would have

            been denied  because of  safety concerns in  transporting the

            witnesses from another prison.   As to the second  claim, the

            hearing  officer had  sufficient  support in  the record  for

            finding  two  of  the  affidavits  not  exculpatory  and  for

            questioning the credibility of the others.

                 Furthermore, the  district court  did not err  either in

            refusing  Hollingsworth's  request  to  present  witnesses at

            trial or  in not allowing  him to  introduce allegedly  newly

            found exculpatory evidence.   The district  court supportably



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            found that the witnesses'  testimony was not relevant  to any

            issue before the court.  Similarly, inasmuch as Hollingsworth

            does  not claim  that the  hearing officer  lacked sufficient

            evidence  to support  a finding of  guilty, the  "newly found

            evidence"  was  irrelevant  to  Hollingsworth's  due  process

            claims.   Moreover,  this evidence,  which was  cumulative of

            what had already been  presented at the disciplinary hearing,

            does nothing  to call the hearing  officer's determination of

            guilt into question.  

                 Affirmed.  See 1st Cir. Loc. R. 27.1.
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